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                    EXHIBIT G
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                   San Francisco, CA 94104

                         RE:      SPARTA Indemnification Claim dated November 7, 2022

                  Dear Counsel:

                          I write on behalf of SPARTA Insurance Company (“SPARTA”) in reference
                  to the Stock Purchase Agreement (“SPA”) among Pennsylvania General Insurance
                  Company (“PGIC”), OneBeacon Insurance Company (“OneBeacon”), and SPARTA
                  Insurance Holdings, Inc. (now known as SPARTA) dated as of March 12, 2007.

                           SPARTA has previously provided Pennsylvania Insurance Company (“PIC,”
                  formerly PGIC) with notice under Section 8.1 of the SPA of various claims that
                  relate to insurance policies originally issued by American Employers’ Insurance
                  Company (“AEIC”), for which PGIC agreed to indemnify SPARTA under the SPA.
                  (See, e.g., Correspondence attached as Ex. A.) To date, PGIC has never informed
                  SPARTA that it would assume the defense of any such AEIC claims.
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        On November 7, 2022, SPARTA advised PIC that SPARTA had expended
$11,849,047 on certain of the previously noticed claims incurred through September
30, 2022 (“the November 7, 2022 Section 8.3 Notice”). SPARTA requested that PIC
remit payment to SPARTA in that amount. Our records indicate that this notice was
delivered to Mr. Jeff Silver on November 8, 2022. To date, PGIC has not served
written notice that PIC disagrees with the amount of the Claim set forth in the
November 7, 2022 Section 8.3 Notice.

        Because more than thirty (30) business days have passed since PIC’s receipt
of SPARTA’s November 7, 2022 Section 8.3 Notice, the amount set forth in that
notice “shall conclusively be deemed to have been accepted by the indemnifying
party and to be the agreed amount which the indemnified party, and in the event the
Purchaser is the indemnified party, the Company, are entitled to receive by way of
indemnification from the indemnification party.” (SPA, Section 8.3.) Accordingly,
PIC was required to, but did not, remit the agreed amount of $11,849,047 to
SPARTA within five (5) business days of the amount being conclusively determined,
i.e., December 15, 2022, the time provided in Section 8.4 of the SPA.

        If we do not receive payment from you promptly, we will be required to take
further steps to seek relief from the Court for PIC’s breach of its indemnification
obligations. The payment should be sent to the bank account identified in Exhibit B
attached hereto.

         We further note that PIC is responsible for the handling and defense of these
claims under the SPA and the Instrument of Transfer and Assumption between PGIC
and AEIC dated June 15, 2005. Until PIC confirms that it will satisfy its contractual
obligations to SPARTA by administering and paying these claims, SPARTA will
continue to protect its interest and to protect AEIC policyholders by handling claims
tendered against AEIC policies, under full reservation of rights, via A.G. Risk
Management, Inc. The amounts set forth in the Section 8.3 Notice were provided
without prejudice to SPARTA’s right to recover additional amounts expended in
furtherance of resolving these or other claims for which PIC is responsible, and to
SPARTA’s right to recover legal fees it has incurred or will incur due to PGIC’s
failure to satisfy its obligations to SPARTA. SPARTA will provide PIC with any
such additional amounts expended by SPARTA periodically.

                                             Very truly yours,




                                             James R. Carroll
